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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS

 _________________________________________
 LAW ENFORCEMENT HEALTH BENEFITS,
 INC., on behalf of itself and
 all others similarly situated,                       Civil Action No.: 3:21-cv-50215
                                Plaintiff,
         v.
 MARK TRUDEAU, et. al.
                                Defendants.


             PLAINTIFF LAW ENFORCEMENT HEALTH BENEFITS’
           NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
          PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 41(a)(2)

       PLEASE TAKE NOTICE that pursuant to Federal Rule of Civil Procedure 41(a)(2),

Plaintiff Law Enforcement Health Benefits hereby voluntarily dismisses its claims in this action

without prejudice.



Dated: June 1, 2022


                                                           /s/ Donald E. Haviland, Jr.
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                                                           (Pro hac vice)
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